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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                      CASE NO.: 1:16-cv-23064-GAYLES/OTAZO-REYES


  FRANCOIS ALEXANDRE,

         Plaintiff,
  v.

  CITY OF MIAMI, JOSUE HERRERA,
  JAVIER ORTIZ, RUBEN ROJAS,
  MAGDIEL PEREZ, CHRISTOPHER D.
  VITAL, FOUR UNIDENTIFIED CITY
  OF MIAMI POLICE OFFICERS, and
  CHIEF OF POLICE RODOLFO LLANES,

        Defendants.
  _______________________________________/


                                       FINAL JUDGMENT

         THIS CASE comes before the Court upon Defendant Javier Ortiz’s Unopposed Motion

  for Entry of Final Judgment (the “Motion”) [ECF No. 173]. The Motion relates to the Court’s

  previous Order, [ECF No. 134], granting in part and denying in part Defendant’s Motion for

  Summary Judgment, [ECF No. 86]. On December 2, 2019, the Eleventh Circuit reversed the

  Court’s Order and remanded with instruction to grant Defendant’s Motion for Summary

  Judgment. See Alexandre v. Ortiz, 789 F. App’x 169, 171, 177 (11th Cir. 2019).

         Accordingly, it is ORDERED AND ADJUDGED that:

         1.      Defendant Javier Ortiz’s Unopposed Motion for Entry of Final Judgment, [ECF

                 No. 173], is GRANTED;

         2.      Judgment is hereby entered on behalf of Defendant Javier Ortiz and against

                 Plaintiff Francois Alexandre; and
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          3.    Plaintiff Francois Alexandre shall take nothing from Defendant Javier Ortiz in

                this action.

          DONE AND ORDERED in Chambers in Miami, Florida, this 2nd day of December,

  2020.



                                            ________________________________
                                            DARRIN P. GAYLES
                                            UNITED STATES DISTRICT JUDGE


  Copies furnished to:
  All counsel of record




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